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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 17-22684-CIV-MORENO

  ROBERT SCHULTZE,

         Plaintiff,
  vs.

  2K CLEVELANDER, LLC,

         Defendant.
                                               /

              PLAINTIFF, ROBERT SCHULTZE’S, STATEMENT OF CLAIM

         Plaintiff, Robert Schultze, per the Court’s “Notice of Court Pratice in FLSA Cases”

  Order of September 29th, 2017, by and through undersigned counsel, respectfully provides his

  Statement of Claim 1 and states:

         1.      Concise Damages Chart: please see Chart on Page 3.

         2.      Explanation of Damages Chart: Mr. Schultze worked primarily as a ‘barback’.

  He is owed for unpaid overtime (and potentially minimum wages). His ‘Regular Rate’ was

  approx. no less than $20 per hour and ‘Overtime Rate’ was approx. no less than $30 per hour

  (this is before taking into account unrecorded cash tips in calculation of overtime rate). Mr.

  Schultze was also not compensated due to unrecorded time for as much as an average of 2.5

  hours of unrecorded time per day and a minimum of an average of .5 hours of unrecorded time

  per day.

         3.      Explanation of Lower Calculation: Conservatively, Mr. Schultze is owed no

  less than $1,280 over this approximately 8-week period between Mid July, 2014 and his last day


  																																																								
  1
     This concise Statement of Claim is respectfully provided to assist the Court and for settlement
  conference and settlement purposes. It does not Amend or limit Plaintiff’s Complaint.
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  of work (approximately Mid-September 2014). This is for a conservative estimate of 80 hours

  underpaid by $10/hour ($800) in addition to 16 hours of unpaid overtime at $30/hour ($480). Mr.

  Schultze may also potentially recover liquidated damages (doubling) and/or prejudgment interest

  in addition to attorneys’ fees and costs.

           4.    Explanation of Upper Calculation: If discovery confirms a more liberal

  approximation of damages, Mr. Schultze is owed no less than $4,800 over this approximately 8-

  week period between Mid July, 2014 and his last day of work (approximately Mid-September

  2014). This is for an estimate of 120 hours underpaid by $10/hour ($1,200) in addition to 120

  hours of unpaid overtime at $30/hour ($3,600). Mr. Schultze may also potentially recover

  liquidated damages (doubling) and/or prejudgment interest in addition to attorneys’ fees and

  costs.

           5.    Attorney’s Fees and Costs: To date, Paul A. Sack, P.A.’s billable attorneys’ fees

  and costs are as follows: Total costs and fees: $9,940 Attorneys’ Fees and Costs. Paul A. Sack,

  Esq., $5,100 [8.5 hours at $600/hour]; R. Brandon Deegan, Esq., $4,400 [16 hours at

  $275/hour]); $400 Complaint; $40 Service of Summons.

           6.    Additional details as to Plaintiff's exact days worked, time worked, regular rate,

  overtime rate, damages, and other figures are being discovered. An alternative calculation may

  be possible under a ‘commission’ calculation if the ‘commission’ approach is permissible; this

  calculation is unknown at this time. Damages prior to July 2014 require discovery of additional

  information.




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                                                                                 Regular Rate is Approximately $20 Per
Plaintiff, Robert Schultze's,                                                    Hour while Overtime Rate is
Concise Statement of Claim                                                       Approximately $30 per hour; the
Chart                                                                            Difference is $10 per hour

                                      Weeks Between Mid-July 2014 and
Higher Damages Approximation          approx. Mid-Sept 2014:



                                      15 OT hours per week x 8 weeks = 120 120 * $10/hour = $1,200 Owed for
Recorded Hours:                       hours Recorded OT Hours              Recorded Hours Over 40

                                      2.5 OT hours per day x 8 weeks x 6   120 * $30/hour OT Rate = $3,600
Unrecorded Hours:                     days = 120 hours Unrecorded OT Hours Unpaid Unrecorded OT
                                                                                                                            $9,600 with Potential
                                                                                                                            Liquidated Damages
                                                                                                                            (Doubling) and/or
                                                                                 Unpaid Overtime Wages: $4,800              Prejudgment Interest

                                      Weeks Between Mid-July 2014 and
Lower Damages Approximation           approx. Mid-Sept 2014:
                                      10 OT hours x 8 weeks = 80 hours           80 * $10/hour = $800 Owed for
Recorded Hours:                       Recorded OT Hours                          Recorded Hours Over 40
                                      .5 OT hours per day x 8 weeks x 4 days     16 * $30/hour = $480 Unpaid
Unrecorded Hours                      = 16 hours Unrecorded OT Hours             Unrecorded OT
                                                                                                                            $2,560 with Potential
                                                                                                                            Liquidated Damages
                                                                                                                            (Doubling) and/or
                                                                                 Unpaid Overtime Wages: $1,280              Prejudgment Interest

                                      Attorneys' Fees and Costs to Date:
                                      Paul A. Sack, Esq.:                        $5,100 [8.5 hours at $600/hour]
                                      R. Brandon Deegan, Esq.:                   $4,400 [16 hours at $275/hour]
                                                                                 $440 [$400 Complaint and $40 Service
                                      Costs:                                     of Summons]
                                                                                 Total Attorneys' Fees and Costs to
                                      Total:                                     Date: $9,940


Other Damages
(1) Damages Prior to July 2014
Unknown at this time
(2) Overtime Rate Based on
Unrecorded Cash Tips Unknown at
this time
(3) Alternative Calculation Based
on Unpaid 'Commissions' Possible
(if Commission is Permissible);
calculation of such damages is
unknown at this time




This chart does not limit or amend Plaintiff's Complaint. Details as to Plaintiff's exact days worked, time worked, regular rate, overtime rate,
damages, and other figures are being discovered.

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy hereof has been filed with CM/ECF and

  thereby served by electronic mail to all persons on the attached service list on October 23, 2017.

                                               Respectfully submitted,

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